Case: 1:22-cv-05997 Document #: 20-2 Filed: 02/03/23 Page 1 of 2 PageID #:275




                               EXHIBIT D
                       Case: 1:22-cv-05997 Document #: 20-2 Filed: 02/03/23 Page 2 of 2 PageID #:276

                                                                                U.S. District Court — Judicial Caseload Profile
CALIFORNIA CENTRAL                                                                          12-Month Periods Ending

                                                                 Jun 30          Jun 30              Jun 30         Jun 30               Jun 30           Jun 30
                                                                  2017            2018                2019           2020                 2021             2022                    Numerical
                                                                                                                                                                                   Standing
                                    Filings ¹                        16,551          17,347            18,056            17,659           17,597           15,114                   Within
                                 Terminations                        16,583          16,253            16,960            16,988           18,070           16,545              U.S.      Circuit
    Overall
   Caseload                         Pending                          12,488          13,597            14,682            15,164           14,655           13,198
   Statistics            Percent Change in Total
                           Filings Current Year
                            Over Earlier Year                          -8.7           -12.9                -16.3          -14.4             -14.1                              71          12
                                    Number of Judgeships                   28              28                28             28                  28               28
                            Vacant Judgeship Months ²                  48.9               68.7             85.8           111.9              91.5               83.8
                                             Total                     591                620               645            631               628                540            24             5
                                             Civil                     518                536               553            570               565                480            13             3
                                             Criminal
                          Filings                                                                                                                                              81          11
                                             Felony                        41              50                60             38                  41               35
                                             Supervised
   Actions                                   Release
per Judgeship                                Hearings                      33              33                32             22                  23               25            60          13
                               Pending Cases ²                         446                486               524            542               523                471            48             7
                              Weighted Filings ²                       567                618               669            681               691                563            17             3
                                 Terminations                          592                580               606            607               645                591            17             5
                              Trials Completed                             13              11                12                 7                 4              10            71             7
                                             Criminal
                      From Filing to         Felony                    14.7               13.2             13.3            14.7              17.8               20.2           83          13
   Median              Disposition
                                             Civil ²                    4.8                5.0              5.0             4.7               4.9                4.8            2             1
Time (Months)
                           From Filing to Trial ²
                               (Civil Only)                            20.0               20.0             22.0            21.2              20.8               23.5            3             2
                              Number (and %)
                               of Civil Cases                          540                552               612            634               831                911
                              Over 3 Years Old ²                       5.5                5.2               5.5            5.4               7.5                9.2            41             5
                             Average Number
                          of Felony Defendants
     Other                    Filed per Case                            1.5                1.6              1.6             1.5               1.4                1.4
                                 Avg. Present for
                                 Jury Selection                        48.1               42.6             48.5            63.2              46.4               62.9
                     Jurors      Percent Not
                                 Selected or
                                 Challenged                            44.9               43.3             47.9            60.1              47.0               57.3

                                      2022 Civil Case and Criminal Felony Defendant Filings by Nature of Suit and Offense

      Type of            Total          A              B         C              D                E            F             G               H               I          J       K          L
        Civil            13,447             665            194   1,203              87               298           580      1,420               969         1,288      3,891        10    2,842
     Criminal ¹               967               2          275        80            191              172           69               45                -          38        5        39            51

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
¹ Filings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.
² See "Explanation of Selected Terms."
